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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                        Criminal No. 20-232 (JRT/KMM)

 UNITED STATES OF AMERICA,

                     Plaintiff,             GOVERNMENT’S MOTION FOR
                                            EXTENSTION OF TIME TO FILE ITS
       v.                                   CONSOLIDATED POST-HEARING
                                            RESPONSE TO DEFENDANTS’
 RUSSELL JASON RAHM et al.,                 PRETRIAL MOTIONS

                     Defendants.

      The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, Joseph H. Thompson, Harry M.

Jacobs, and Melinda A. Williams, Assistant U.S. Attorneys, respectfully submits the

following motion for an extension of time in which to file its consolidated post-hearing

response to defendants’ pretrial motions.

      On October 20, 2020, a grand jury returned an indictment charging 43

defendants with conspiracy to commit wire fraud. Dkt. #1. 23 of the 43 defendants

have pled guilty. The 20 remaining defendants filed a total of approximately 141

pretrial motions. See Dkt. ##885-1059. The government’s post-hearing supplemental

response to four defendants’ suppression motions are currently due on April 28, 2022.

      The government respectfully asks for an additional 7 days in which to respond

to the defendants’ post-hearing pretrial motions. The government has been working

on its responses to the motions, but given the number of motions, requests additional

time to ensure that its response its helpful to the Court. The government believes

that the additional time requested will be adequate for the government to research
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and respond to the defendants’ motions. Counsel for defendants’ who filed the motions

at issue do not object to the extension request.

      For the reasons set forth above, the government respectfully requests an

extension of time in which to respond to defendants’ pretrial motions to May 5, 2022.

Dated: April 28, 2022                          Respectfully submitted,

                                               ADNREW M. LUGER
                                               United States Attorney

                                              s/ Harry M. Jacobs
                                          BY: JOSEPH H. THOMPSON
                                              HARRY M. JACOBS
                                              MELINDA A. WILLIAMS
                                              Assistant U.S. Attorneys




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